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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In re:

DANA MICALLEF,                                        Case No. 6:18-bk-06259-KSJ

                       Debtor.
__________________________________/

                      APPLICATION TO AUTHORIZE EMPLOYMENT
                     OF ATTORNEYAND DECLARATION IN SUPPORT

                                          APPLICATION

         The duly appointed Trustee in this Chapter 7 case, Gene T. Chambers (“Trustee”), applies

for an order approving the employment of Cynthia E. Lewis (the “Attorney”) and the law firm of

Lewis & Monroe, PLLC to represent and assist the Trustee in carrying out the Trustee’s duties under

the Bankruptcy Code. After reviewing the facts and legal issues in this case, the Trustee has

concluded that the assistance of counsel is necessary to assist in the recovery of potential assets,

fraudulent transfers and preferences and to otherwise assist the Trustee in discharging the Trustee’s

statutory duties.

         The Trustee has selected this Attorney because she has the ability and experience to render

the necessary assistance. The Attorney and Lewis & Monroe, PLLC further agree to seek

compensation at the firm’s standard hourly rates, which currently range between $350.00 and

$450.00 per hour and reasonable costs and expenses pursuant to the provisions of Section 330 of the

Bankruptcy Code.

         Applicant will assist the Trustee in performing the following duties:

         1.     Prepare any motions and adversary proceedings necessary for the Trustee to perform
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               her duties as outlined in the United States Bankruptcy Code including, but not limited

               to, adversary proceedings against Debtor for fraudulent transfers, preferences or

               pursuant to 11 U.S.C. §727, as well as, motion for turnover of assets.

       2.      Prepare legal documents necessary for this Court’s approval for the settlement of any

               claim that the estate asserts.

       3.      Attend evidentiary hearings on behalf of the bankrupt estate.

       To the best of the Trustee’s knowledge, the attorney has no connection with the debtor,

creditors, any other party in interest, their respective attorneys and accountants, the United States

Trustee, or any person employed in the office of the United States Trustee except that the attorneys

of Lewis & Monroe, PLLC have done work for the Chapter 7 Trustee in the past.

       The Trustee therefore prays that the court will enter an order approving the employment of

counsel.

       Dated this 5th day of February, 2019.



                                                         /s/ Gene T. Chambers, Trustee
                                                         Gene T. Chambers, Trustee
                                                         Florida Bar No. 187642
                                                         P.O. Box 533987
                                                         Orlando, FL 32853
                                                         PH(407) 872-7575
                                                         FAX (407) 246-0008
                                                         Email gchamberspa@cfl.rr.com


                       DECLARATION OF PROPOSED ATTORNEY

       I, Cynthia E. Lewis, declare under penalty of perjury pursuant to the provisions of 28 U.S.C.

§1746 that the following statements are true and correct:


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        1.    I am an attorney admitted to practice in the United States District Court for the Middle

District of Florida.

        2.    I am a member of the law firm of Lewis & Monroe, PLLC

        3.    Neither I, nor any member of the firm, have any connection with the debtor, creditors,

or other party in interest, their respective attorneys and accountants, the United States Trustee, or any

other personnel employed in the office of the United States Trustee except that the attorneys of Lewis

& Monroe, PLLC have done work for the Chapter 7 Trustee in the past.

        Executed this 5th day of February, 2019.

                                                        /s/ Cynthia E. Lewis
                                                        Cynthia E. Lewis
                                                        Florida Bar No. 53076
                                                        Lewis & Monroe, PLLC
                                                        P.O. Box 540163
                                                        Orlando, FL 32854-0163
                                                        PH: (407) 872-7447
                                                        Fax No. (407) 246-0008
                                                        Email: clewis@jamesmonroepa.com
                                                        Attorney for Trustee


                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the application and declaration were provided electronically, via
CM/ECF, or by regular U.S. Mail, Postage prepaid to the following on this 5th day of February, 2019:
Trustee: Gene T. Chambers, P.O. Box 533987, Orlando, FL 32853; Debtor: Dana Micallef, 1888
John Anderson Drive, Ormond Beach, FL 32176; Debtor's Attorney: Walter J. Snell, Esquire, Snell
& Snell, P.A., 436 North Peninsula Drive, Daytona Beach, FL 32118; and United States Trustee,
George C. Young Federal Building, 400 West Washington Street, Suite 1100, Orlando, FL 32801.


                                                        /s/ Cynthia E. Lewis
                                                        Cynthia E. Lewis




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